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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                        Plaintiffs,

                           v.                             BRIEFING ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                        Defendants.



         On June 4, 2021, the Court held a status conference concerning issues related to the

  feasibility of conducting the trial in this case between October 25 and November 19, 2021, at the

  federal courthouse in Charlottesville.

         The Court invited initial comments from the parties at the status conference on the

  following topics. Any parties seeking to do so may file supplementary briefs concerning the

  following topics:

         1. What is an optimal and manageable footprint for the litigants, attorneys and staff for

             each side in the courtroom? Consideration shall be taken to ensure that each side is

             represented at trial, but also reflect space limitations and potential risks presented by

             COVID-19.

         2. What is an efficient and manageable footprint of the trial in the courthouse? The

             Court shall consider any needed use of breakout rooms, video access for overflow

             members of the public or press, security considerations, and any requested or needed

             use of court facilities.


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         3. Reflecting the considerations above and other relevant considerations, whether the

             Charlottesville federal courthouse is the best equipped and most suitable courthouse

             at which to hold this trial.

         4. Steps that have been and can be taken in a pretrial posture, either by way of a meet-

             and-confer with the opposing parties, or under the auspices of the magistrate judge, to

             narrow the issues in genuine dispute and to enter into stipulations as to agreed facts.



         Any party seeking to file a supplemental brief on these topics shall do so by June 11,

  2021 at 5:00 p.m. Briefs shall be limited to ten (10) pages in length.

         It is so ORDERED.

         Entered this 7th       day of June, 2021.




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